                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                 No.5:08-CR-295-2-BO
                                   No.5:1O-CV-95-BO


BILLY RAY FELDER,                             )
                                              )
                       Petitioner,            )
                                              )
               v.                             )               ORDER
                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                       Respondent.            )
                                              )

       This matter is before the Court on Petitioner's Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.c. § 2255 and Respondent's Motion to Dismiss. For the reasons

below, Petitioner's Motion to Vacate is DENIED. Respondent's Motion to Dismiss is

GRANTED.

                                    BACKGROUND
       On December 15,2008, Petitioner pled guilty, pursuant to a written plea agreement, to

the charge of aiding and abetting in the distribution of more than five grams of cocaine base, in

violation of21 U.S.C. § 841. Petitioner was sentenced by this Court to 188 months

imprisonment on March 17,2009. On March 23, 2009, Petitioner filed a notice of appeal. New

counsel was appointed for Petitioner and filed an Anders brief, while Petitioner filed a pro se

supplemental brief arguing that the trial record did not disclose that this Court understood its

discretion to impose a below-guideline sentence under Kimbrough v. United States, 552 U.S. 85,

90-91 (2007). The Fourth Circuit affirmed in part and dismissed in part. United States v. Felder,

No. 09-4317,2010 WL 331427 (4th Cir. Jan. 26,2010). Petitioner timely filed this motion on




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I
March 15,2010.

                                           DISCUSSION

       Petitioner asserts two claims in his § 2255, both for ineffective assistance of counsel.

First Petitioner claims his trial attorney was ineffective. He makes the same claim against his

appellate attorney. In order to prevail in a claim for ineffective assistance of counsel, a petitioner

must show that his attorney's representation fell below an objective standard of reasonableness

and that, but for that deficiency, the result would have been different. Strickland v. Washington,

466 U.S. 668, 687-91,694 (1984). Failure to satisfy either standard is fatal to an ineffective

assistance claim and must result in dismissal. Id. at 691.

       Under both claims, Petitioner asserts his counsel was ineffective for failing to ask this

Court to impose a variant sentence, due to the crack/powder disparity and claims that the record

does not reflect that the Court understood its discretion to impose a non-guidelines sentence if it

thought it were appropriate.

       In this case, Petitioner has failed to meet his burden. There is no evidence in the record to

suggest either his trial attorney or appellate attorney's representation fell below an object

standard of reasonableness, and that but for a deficiency, the result would have been any

different. While Petitioner's trial counsel did not specifically make a request for a variance based

on Kimbrough, he did make requests for a downward departure and a variance based on several

other grounds. This Court is also aware of the decision in Kimbrough and has on more than one

occasion sentenced accordingly, when in the Court's discretion, it believed a variance was

appropriate. Here, the Court made it clear that Petitioner's career offender status negated any

argument he put forward for a variance. Finally, Petitioner's guideline range was calculated after

the passage of Amendment 706, and so his sentence already reflected a two-level reduction



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intended to correct the crack-powder disparity. Accordingly, Petitioner's Motion is DENIED.

                                         CONCLUSION

       Accordingly, Petitioner's Motion to Vacate is DENIED. Respondent's Motion to

Dismiss is GRANTED.

       A certificate of appealability shall not issue absent "a substantial showing of the denial of

a constitutional right." 28 U.S.C. § 2253(c)(2) (2000). A petitioner satisfies this standard by

demonstrating that reasonable jurists would find that an assessment of the constitutional claims is

debatable and that any dispositive procedural ruling dismissing such claims is likewise debatable.

Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Rose v. Lee, 252 F.3d 676, 683-84 (4th Cir.

200 I). Because reasonable jurists would not find Petitioner's claims debatable, a certificate of

appealability is DENIED.

       SO ORDERED.

       This    J ~ day ofJuly, 2010.



                                              T    NCE W. BOYLE
                                              UNITED STATES DISTRI




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